             Case 2:16-cr-00442-CAS Document 314 Filed 07/31/19 Page 1 of 6 Page ID #:1908

                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.            2:16CR00442-CAS - 6

 Defendant      JONATHAN PORTILLO                                            Social Security No. 0         0   0   0
       Pelon; Jonathan Alexander Portillo; Jonathan
                                                                             (Last 4 digits)
 akas: Humberto Portillo

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                   MONTH    DAY   YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.         07   31    2019

  COUNSEL                                                                Nghi Lam, Retained
                                                                             (Name of Counsel)

     PLEA            X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO             NOT
                                                                                                               CONTENDERE         GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Conspiracy to Violate Civil Rights in violation of 18 U.S.C. § 241, as charged in Count 1 of the Indictment; Violent Crime in
          Aid of Racketeering in violation of 18 U.S.C. § 1956(A)(6), as charged in Count 3 of the Indictment; Interference with
          Housing Rights by Force; Aiding and Abetting in violation of 42 U.S.C. § 3631; 18 U.S.C. § 2(a), as charged in Count 4 of
          the Indictment; and Use Fire and Carry Explosive to Commit Another Federal Felony; Aiding and Abetting in violation of 18
          U.S.C. §§ 844(h)(1), (h)(2); 18 U.S.C. § 2(a), as charged in Count 7 of the Indictment.
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed on Counts
  ORDER   1, 3, 4 and 7 of the Indictment to the custody of the Bureau of Prisons to be imprisoned for a term of: SIXTY-THREE (63)
          MONTHS. This term consists of sixty-three (63) months on Counts 1, 4, and 7, and thirty-six (36) months on Count 3 of the
          Indictment, all to be served concurrently.


It is ordered that the defendant shall pay to the United States a special assessment of $400.00, which is
due immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of
not less than $25.00 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial
Responsibility Program.
It is ordered that the defendant shall pay restitution pursuant to 18 U.S.C. § 3663A. Pursuant to 18
U.S.C. § 3664(d)(5), a final determination of the victim's losses will be ordered at a deferred
restitution hearing after such information becomes available. An amended judgment will be entered
after such determination.
Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has
established that he is unable to pay and is not likely to become able to pay any fine.
Upon release from imprisonment, the defendant shall be placed on supervised release for a term of
three (3) years. This term consists of three (3) years on each of Counts 1, 4, and 7, and one (1) year on
Count 3 of the Indictment, all such terms to run concurrently under the following terms and
conditions:

1.       The defendant shall comply with the rules and regulations of the United States Probation Office
         and General Order 05-02, with the exception of Standard Conditions 5, 6, and 14 of that order;

CR-104 (wpd 10/18)                                 JUDGMENT & PROBATION/COMMITMENT ORDER                                            Page 1 of 4
             Case 2:16-cr-00442-CAS Document 314 Filed 07/31/19 Page 2 of 6 Page ID #:1909

 USA vs.     JONATHAN PORTILLO                             Docket No.:   2:16CR00442-CAS - 6

2.       As directed by the probation officer, the defendant shall notify specific persons and
         organizations of specific risks and shall permit the probation officer to confirm the defendant’s
         compliance with such requirement and to make such notifications;
3.       The defendant shall not commit any violation of local, state, or federal law or ordinance;
4.       During the period of community supervision, the defendant shall pay the special assessment in
         accordance with this judgment's orders pertaining to such payment;
5.       The defendant shall refrain from any unlawful use of a controlled substance. The defendant
         shall submit to one (1) drug test within 15 days of release from imprisonment and at least two
         (2) periodic drug tests thereafter, not to exceed eight (8) tests per month, as directed by the
         Probation Officer;
6.       The defendant shall participate in an outpatient substance abuse treatment and counseling
         program that includes urinalysis, breath and/or sweat patch testing, as directed by the Probation
         Officer. The defendant shall abstain from using illicit drugs, alcohol, and abusing prescription
         medications during the period of supervision;
7.       As directed by the Probation Officer, the defendant shall pay all or part of the costs of treating
         Court-ordered correctional treatment to the aftercare contractor during the period of community
         supervision. The defendant shall provide payment and proof of payment as directed by the
         Probation Officer. If the defendant has no ability to pay, no payment shall be required;
8.       The defendant shall comply with the immigration rules and regulations of the United States, and
         if deported from this country, either voluntarily or involuntarily, not reenter the United States
         illegally. The defendant is not required to report to the Probation Office while residing outside
         of the United States; however, within 72 hours of release from any custody or any reentry to the
         United States during the period of Court-ordered supervision, the defendant shall report for
         instructions to the United States Probation Office, located at: United States Court House, 312
         North Spring Street, Room 600, Los Angeles, California 90012;
9.       The defendant shall cooperate in the collection of a DNA sample from the defendant;
10.      The defendant shall not associate with anyone known to him to be a member of the Big Hazard
         Gang and others known to him to be participants in the Big Hazard Gang's criminal activities,
         with the exception of his family members. He may not wear, display, use or possess any gang
         insignias, emblems, badges, buttons, caps, hats, jackets, shoes, or any other clothing that
         defendant knows evidence affiliation with the Big Hazard Gang, and may not display any signs
         or gestures that defendant knows evidence affiliation with the Big Hazard Gang;
11.      As directed by the Probation Officer, the defendant shall not be present in any area known to
         him to be a location where members of the Big Hazard Gang meet and/or assemble;
12.      The defendant shall not reside in Hazard gang territory; namely, the geographic confines of the
         Ramona Gardens Housing Development; and
14.      The defendant shall be subject to search by any law enforcement entity of his person, residence,
         vehicle, or cell phone, with or without reasonable suspicion, at any time.

The Court authorizes the Probation Office to disclose the Presentence Report to the substance abuse
treatment provider to facilitate the defendant's treatment for narcotic addiction or drug dependency.

CR-104 (wpd 10/18)                  JUDGMENT & PROBATION/COMMITMENT ORDER                           Page 2 of 4
             Case 2:16-cr-00442-CAS Document 314 Filed 07/31/19 Page 3 of 6 Page ID #:1910

 USA vs.     JONATHAN PORTILLO                                               Docket No.:       2:16CR00442-CAS - 6

Further redisclosure of the Presentence Report by the treatment provider is prohibited without the
consent of the sentencing judge.
Defendant is informed of his right to appeal.
The Court grants the Government’s request to dismiss the remaining counts of the Indictment.
The Court recommends that defendant participate in the Bureau of Prisons 500-hour Drug and Alcohol
Program at the facility defendant is designated to.




 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            July 31, 2019
            Date                                                  CHRISTINA A. SNYDER, U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                  Clerk, U.S. District Court



            July 31, 2019                                   By            /S/
            Filed Date                                            Catherine Jeang, Deputy Clerk




CR-104 (wpd 10/18)                            JUDGMENT & PROBATION/COMMITMENT ORDER                                                   Page 3 of 4
              Case 2:16-cr-00442-CAS Document 314 Filed 07/31/19 Page 4 of 6 Page ID #:1911

 USA vs.     JONATHAN PORTILLO                                                       Docket No.:      2:16CR00442-CAS - 6


 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                  While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local          9.    The defendant must not knowingly associate with any persons engaged
       crime;                                                                        in criminal activity and must not knowingly associate with any person
 2.    he defendant must report to the probation office in the federal               convicted of a felony unless granted permission to do so by the probation
       judicial district of residence within 72 hours of imposition of a             officer. This condition will not apply to intimate family members, unless
       sentence of probation or release from imprisonment, unless                    the court has completed an individualized review and has determined
       otherwise directed by the probation officer;                                  that the restriction is necessary for protection of the community or
 3.    The defendant must report to the probation office as instructed by            rehabilitation;
       the court or probation officer;                                         10.   The defendant must refrain from excessive use of alcohol and must not
 4.    The defendant must not knowingly leave the judicial district                  purchase, possess, use, distribute, or administer any narcotic or other
       without first receiving the permission of the court or probation              controlled substance, or any paraphernalia related to such substances,
       officer;                                                                      except as prescribed by a physician;
 5.    The defendant must answer truthfully the inquiries of the probation     11.   The defendant must notify the probation officer within 72 hours of being
       officer, unless legitimately asserting his or her Fifth Amendment             arrested or questioned by a law enforcement officer;
       right against self-incrimination as to new criminal conduct;            12.   For felony cases, the defendant must not possess a firearm, ammunition,
 6.    The defendant must reside at a location approved by the probation             destructive device, or any other dangerous weapon;
       officer and must notify the probation officer at least 10 days before   13.   The defendant must not act or enter into any agreement with a law
       any anticipated change or within 72 hours of an unanticipated                 enforcement agency to act as an informant or source without the
       change in residence or persons living in defendant’s residence;               permission of the court;
 7.    The defendant must permit the probation officer to contact him or       14.   As directed by the probation officer, the defendant must notify specific
       her at any time at home or elsewhere and must permit confiscation             persons and organizations of specific risks posed by the defendant to
       of any contraband prohibited by law or the terms of supervision and           those persons and organizations and must permit the probation officer to
       observed in plain view by the probation officer;                              confirm the defendant’s compliance with such requirement and to make
 8.    The defendant must work at a lawful occupation unless excused by              such notifications;
       the probation officer for schooling, training, or other acceptable      15.   The defendant must follow the instructions of the probation officer to
       reasons and must notify the probation officer at least ten days               implement the orders of the court, afford adequate deterrence from
       before any change in employment or within 72 hours of an                      criminal conduct, protect the public from further crimes of the
       unanticipated change;                                                         defendant; and provide the defendant with needed educational or
                                                                                     vocational training, medical care, or other correctional treatment in the
                                                                                     most effective manner.




CR-104 (wpd 10/18)                                    JUDGMENT & PROBATION/COMMITMENT ORDER                                                          Page 4 of 4
             Case 2:16-cr-00442-CAS Document 314 Filed 07/31/19 Page 5 of 6 Page ID #:1912
             The defendant must also comply with the following special conditions (set forth below).


           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

         The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C. §
 3563(a)(7).

           Payments will be applied in the following order:

                     1. Special assessments under 18 U.S.C. § 3013;
                     2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                       States is paid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, under 18 U.S.C. § 3663(c); and
                     5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

         The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts, including
 any business accounts, must be disclosed to the Probation Officer upon request.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




CR-104 (wpd 10/18)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                     Page 5 of 4
             Case 2:16-cr-00442-CAS Document 314 Filed 07/31/19 Page 6 of 6 Page ID #:1913
 USA vs.     JONATHAN PORTILLO                                                   Docket No.:      2:16CR00442-CAS - 6




                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date




                     U. S. Probation Officer/Designated Witness                     Date




CR-104 (wpd 10/18)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 6 of 4
